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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
COVENTRY CAPITAL US LLC,

                             Plaintiff,

       against
                                                    CIVIL ACTION NO.: 17 Civ. 7417 (VM) (SLC)

                                                            TELEPHONE CONFERENCE
EEA LIFE SETTLEMENTS INC., et al,
                                                              SCHEDULING ORDER
                             Defendants.



SARAH L. CAVE, United States Magistrate Judge.

       A Telephone Conference was held today, November 6, 2020, regarding the status of

discovery. The parties have raised numerous discovery disputes and accordingly, the Court

imposes the briefing schedule below.

       1. Letter-Motions concerning whether 56,000 documents will be included in TAR

          review (“TAR dispute”)

       Defendant EEA Life Settlements, Inc. (“EEA”) and Plaintiff Coventry Capital US LLC

(“Coventry”) dispute whether approximately 56,000 documents that were delivered to EEA Life

Settlements Fund PCC Limited (the “Fund”) pertain instead to EEA Fund Management (Guernsey)

Limited (“Guernsey Manager”), and should accordingly be excluded from TAR review for manual

review limited to the period 2017 forward.

       EEA’s Letter-Motion concerning the TAR dispute is due by Friday, November 13, 2020;

Coventry’s opposition is due by Friday, November 20, 2020; EEA’s reply, if any, is due by

Wednesday, November 25, 2020.
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         As the Court advised at the Telephone Conference, EEA must include in its Letter-Motion

a firm commitment about the timeline for its proposed manual review of these documents.

         The TAR Dispute Letter-Motions are limited to three pages in length.

         Notwithstanding this schedule for the resolution of the TAR Dispute, EEA shall promptly

provide Coventry with precision and richness figures excluding the 56,000 documents subject to

the TAR Dispute.

         2. Consolidated Letter-Motion

         The parties shall address in consolidated Letter-Motions their disputes concerning: (i)

privilege, redaction, and confidentiality designations (including Attorneys’ Eyes Only

designations) as to the productions to-date; (ii) Phase Two discovery, including additional

custodians and Mimecast database searches; and (iii) interrogatories.

         Coventry’s Letter-Motion shall be due Friday, November 13, 2020, EEA’s response shall

be due Friday, November 20, 2020, and Coventry’s reply, shall be due Wednesday, November

25, 2020.

         The parties’ consolidated Letter-Motions are permitted to be up to six pages, exclusive of

attachments.

         A Telephone Conference is scheduled for Tuesday, December 8, 2020, at 2:00 pm

concerning the Consolidated Letter-Motion.           The Parties are directed to call the Court’s

conference line at 866-390-1828, access code 3809799, at the scheduled time.


Dated:          New York, New York
                November 6, 2020

                                                       SO ORDERED


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                                    _________________________
                                    SARAH L. CAVE
                                    United States Magistrate Judge




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